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U.S. Bankruptcy Court
Middle District of Florida
In re: Bankruptcy Case No. 8:21-bk—-00038-MGW
CARRIN DENISE JAMES
Debtor
Adversary Proceeding No. 8:21-ap—00128-MGW
CHRISTINE L HERENDEEN
Plaintiff
¥.
HEALTHCARE REVENUE RECOVERY GROUP, LLC, D/B/A
HRRG
Defendant

SUMMONS IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the
Bankruptcy Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall

submit a motion or answer to the complaint within 35 days of issuance.

 

Address of Clerk
Clerk, U.S. Bankruptey Court
Middle District of Flerida
Sam M. Gibbons, Federal Courthouse
801 N. Florida Ave. Suite 555
Fampa, FL 33602

At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

 

 

Name and Address of Plaintiff's Attorney

Brian L Shrader, Attorney for Trustee
612 West Bay Street
Tampa, FL 33606

if you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

 

 

 

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be held at the following
time and place:

Address: Sam M Gibbons United States Courthouse Room: Courtroom 8A

tamps. EL 33603 Avenue Date and Time: Tuesday August 03, 2021 at 09:30AM

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY
OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR
THE RELIEF DEMANDED IN THE COMPLAINT.

       

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#** Tmportant Notice *** Clerk, U.S. Bankruptcy Court

The enclosed Certificate of Service must be filed with the court along with a copy of this summons after service
has been made on the parties.
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[Dntepseaj (District Notice Scheduling Pretrial/Status Conference Adversary]

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION
www. flmb.uscourts. gov

Tn re: Case No. 8:21-bk—-00038-MGW
; Chapter 7
Carrin Denise James

Debtor* i
Christine L Herendeen

Plaintiff*
¥5, Adv. Pro. No. 8:21-~-ap~00128-MGW

Healthcare Revenue Recovery Group, LLC, d/b/a
HRRG

Defendant* /

L PRET E E
NOTICE IS GIVEN THAT:

1. A Pretrial/Status Conference will be held on August 3, 2021, at 09:30 AM , before the Honorable
Michael G. Williamson, United States Bankruptcy Judge. The hearing will be held telephonically.

2, All pending motions, other than Motions for Summary Judgment, may be heard at the
Pretrial/Status Conference,

3. Parties are reminded to comply with all requirements of Local Rule 7001-1.

4, Telephonic Appearance Requirement. Effective March 16, 2020, and continuing until further
notice, Judges in all Divisions will conduct all hearings by telephone.

For cases assigned to Judges Colton or Williamson, parties should arrange a telephonic appearance
through Court Solutions (www.court-solutions.com}. NOTE: All parties should proceed to the
website and select 'Sign Up’. For unrepresented parties only, before submitting the completed form,
you must select 'I am not an attorney’ and 'Certified Indigent’. Once the information is submitted you
will receive an email with further instructions.

For cases assigned to Judges Delano, Funk, Jackson, Jennemann, McEwen, or Vaughan, parties
should arrange a telephonic appearance through Court Call (866-582-6878).

5, Avoid Delays. You are reminded that Local Rule 5073-1 restricts the entry of cellular telephones
and, except in Orlando, computers into the courthouse absent a specific order of authorization issued
beforehand by the presiding judge. Please take notice that as an additional security measure, a photo
ID is required for entry into the courthouse.

FOR THE COURT

 

 
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Dated: April 30, 2021 Sheryl L. Loesch , Clerk of Court

Sam M. Gibbons United States Courthouse
801 North Florida Avenue, Suite 555
Tampa, FL 33602

*All references to "Debtor" shall include and refer to both debtors in a case filed jomtly by two
individuals.

* All references to "Plaintiff or "Defendant" shail include and refer to multiple piaintiffs or
defendants.

 

 
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Rule 7001-1

ADVERSARY PROCEEDINGS -- PROCEDURES

(a) General. This rule applies to all adversary proceedings and, if ordered by the
Court, to contested matters. To the extent that the time periods set forth in this rule conflict with
those set forth in the Federal Rules of Civil Procedure, the Federal Rules of Bankruptcy
Procedure, or other Local Rules, this rule controls.

(b)  JInjunctive Relief. If a pleading contains a prayer for injunctive relief pursuant to
Fed. R. Bankr. P. 7065, the title of the pleading shall include the words “Injunctive Relief
Sought” or the equivalent.

(c) Service. Plaintiff shall serve the summons issued by the Clerk, the complaint, and
a copy of this rule within seven days after the summons is issued as required by Fed. R.
Bankr. P. 7004(e). If the initial summons and accompanying papers are not timely served,
plaintiff shall promptly request the issuance of an alias summons and serve the alias summons
together with the complaint and a copy of this rule. Plaintiff must serve all defendants no later
than 28 days after the complaint is filed. If an additional party is thereafter named as a plaintiff
or a defendant, plaintiff shall serve a copy of this rule on each additional party within seven days
of the date that the additional party is named.

(d) Proof of Service. Plaintiff shall promptly file a proof of service indicating the
service of each summons, the complaint, and this rule on each defendant.

(e) Failure to Effect Service. If plaintiff does not complete timely and effective
service of the summons and complaint, the Court may dismiss the adversary proceeding for lack
of prosecution without further notice or hearing. If plaintiff requires additional time to effect
service, plaintiff shall file a motion for extension of time.

(f) Defaults. f a defendant has not filed a timely response, plaintiff shall seek entry
of a Clerk’s default of that defendant and move for judgment by default no later than 60 days
after the complaint is filed. If plaintiff requires additional time to apply for the entry of default or
to move for judgment by default, plaintiff shall file a motion for extension of time.

(g) Initial Disclosures. Pursuant to Fed. R. Civ. P. 26(f), at or prior to the Meeting of
Parties described below, and without any formal discovery requests, each party shall:

(1) identify in writing the name and, if known, the address and telephone
number of each individual with discoverable information relevant to the disputed facts;

(2) provide copies of or a written description by category and location of all
documents that are relevant to the disputed facts;

(3) provide a written computation of any damages claimed; and

 
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(4) __ provide a copy of any insurance agreement that may be available to satisfy
all or part of a possible judgment in the action or to indemnify or reimburse for payments made
to satisfy the judgment.

(h) Meeting of Parties. At least 14 days prior to the initial status or pretrial
conference, the attorneys for the parties or the parties, if not represented by an attorney, shall
meet (the “Meeting of Parties”) to discuss:

(1) the parties’ claims and defenses;
(2) the possibility of settlement;
(3) the initial disclosures required in subsection (g) above; and

(4) a discovery plan as required by Fed. R. Civ. P. 26(f). Unless otherwise
ordered by the Court, the parties may orally announce their discovery plan at the pretrial or status
conference and need not file a written report.

(i) Pretrial or Status Conference. The Court will conduct a status or pretrial
conference at any time after a responsive pleading is filed but, in any event, approximately 90
days after the complaint is filed. The parties may not introduce testimony or documentary
evidence at the status conference. The Court, however, may consider relevant undisputed facts,
affidavits offered without objection from the opposing parties, judicial notice items, and
admissions made during the status conference by parties either directly or through counsel.

) Discovery.

(1) General. Parties should be familiar with the Local Rules regarding
discovery, including Local Rules 7026-1, 7026-2, 7030-1, 7033-1, and 7037-1.

(2) Commencement of Discovery. Absent leave of Court, discovery may not
commence until the conclusion of the Meeting of Parties.

(3) Discovery Deadline. Parties shall complete discovery no later than seven
days before the trial date except that the parties may complete previously scheduled depositions
up to the trial date.

(4) Discovery Disputes. If a discovery dispute occurs, the parties shall first, as
required by Fed. R. Civ. P. 37(a)(1), as incorporated by Fed. R. Bankr. P. 7037, confer in good
faith to attempt to resolve the issues. If the parties are unable to resolve the dispute, any party
may request a telephone conference with the Court so that the Court may render an informal,
preliminary ruling on the discovery dispute, without prejudice to the right of any party to file a
formal motion.

(5) Discovery Papers Shall Not Be Filed with the Court. Consistent with
Fed. R. Civ. P. 5, incorporated by Fed. R. Bankr. P. 7005, disclosures under Rule 26 (a)(1) or (2)
and the following discovery responses and requests must not be filed with the Court until they
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are used in the case or proceeding or the Court orders filing: depositions, interrogatories,
requests for documents or tangible things or to permit entry onto land, and requests for
admissions.

(k) Motions.

(1) General. A motion filed with the Court shall request only one form of
relief unless the request seeks alternative forms of relief under the same provision of the
Bankruptcy Code or Federal Rules of Bankruptcy Procedure.

(2) Format. All motions, responses, and replies shall comply with the Court’s
Style Guide posted on the Court’s website, www.flmb.uscourts.gov. Papers shall be double
spaced and, where appropriate, include a legal memorandum containing argument and citations

of authorities.

(3) Page Limits. Absent leave of Court, motions and supporting memoranda
shall not exceed ten pages in length.

(4) Motions Required to Be Served Using the Court’s Negative Notice

Procedures. The following motions shall be served using the negative notice procedures of Local
Rule 2002-4:

(A) motions to dismiss and other motions under Fed. R. Bankr. P. 7012;

(B) motions to amend pleadings;

(C) motions regarding joinder or substitution of parties;

(D) motions for leave to intervene;

(E) — motions to abstain;

(F) motions for summary judgment;

(G) motions related to discovery;

(H) motions for attorney’s fees or costs under Fed. R. Bankr. P. 7054; and

@ motions under Fed. R. Bankr. P. 9023 and 9024.
The negative notice legend shall provide for a 14-day response period, except for motions for
summary judgment for which the response time shall be 21 days, unless otherwise ordered by the

Court. The moving party may file a reply, if desired, no later than seven days after the response
is filed.

 
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(5) Emergency Motions. The Court will consider emergency motions at any
time in its discretion. Emergency motions shall comply with Local Rule 9013-{(d) and shall be
filed using the Emergency Filings/Matters/Motions link on the Court’s website,

www.flmb.uscourts. gov.

(6) Motions to Determine if the Bankruptcy Court Has Authority to Enter
Final Orders or Judgments. Under 28 U.S.C. § 157(b), the Bankruptcy Court does not have
jurisdiction to enter final orders or judgments on claims (a) that are non-core or (b) that are
statutorily core but which (i) involve state law claims that arise independently of the Bankruptcy
Code and (ii) that are not part of the claims allowance process. A party who seeks a
determination that the Bankruptcy Court does not have jurisdiction to enter final orders or
judgments on any issue raised in the adversary proceeding shall file a motion for such
determination no later than the date set for filing a response to the compiaint. A party who fails
to timely file such a motion is deemed to have consented to the Bankruptcy Court’s entry of final
orders and judgments in the proceeding. However, a party’s failure to timely file such a motion
does not constitute a waiver of that party’s right to appeal under 28 U.S.C. § 158.

(7) Motions for Summary Judgment. Motions for summary judgment shall
be filed no later than 60 days prior to trial. The Court may or may not set a hearing on the motion
for summary judgment. Absent order of the Court, the trial will proceed as scheduled even if a
motion for summary judgment is pending.

(i) Pretrial Disclosures of Witnesses and the Use of Depositions. Fed. R. Civ. P.
26(a)(3) (except with respect to time limits) shall govern pretrial disclosures regarding witnesses
and use of depositions. Parties shail file and exchange names, telephone numbers, and addresses
for witnesses, and any designations of depositions at least 28 days before trial. Objections to the
use of depositions shall be filed within 14 days of the disclosure. Parties shali confer on any
factual or evidentiary stipulations prior to trial.

(m) Exhibits.

(1) Exhibits to be Filed and Exchanged via CM/ECF. Parties shall prepare
exhibits in compliance with Local Rule 9070-1 and shall file and exchange exhibits no later than
seven days before the date set for trial.

(2)  Self-Authentication of Records of Regularly Conducted Activity. A party
who intends to rely upon the self-authentication procedures of Fed. R. Evid. 902(11) or (12) to
introduce into evidence records of regularly conducted activities under Fed. R. Evid. 803(6)
shall, within at least 28 days before trial, file with the Court and serve on other parties the written
declaration required by Fed. R. Evid. 902(11) or (12) and a copy of all records sought to be
admitted.

(3) Objections to Admissibility of Exhibits. Written objection to the
admission of an exhibit into evidence on the grounds that the exhibit (a) lacks authentication or
(b) does not qualify as an exception to the hearsay rule as a record of a regularly conducted
activity under Fed. R. Evid. 803(6) must be filed before the close of business on the second day
before trial or the objection will be deemed waived.

 
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(n) Expert Witness Testimony. Unless the Court orders otherwise, a party who
wishes to offer expert testimony at trial shall comply with the requirements of Fed. R. Civ. P.
26(a)(2).

(0) Stipulations. All stipulations of the parties shall be made in writing, signed, and
promptly filed with the Court.

(p) Supplementation of Disclosures. Parties are under a duty to supplement or
correct their Initial Disclosures and their Pretrial Disclosures in accordance with Fed. R. Civ. P.
26(e).

(q) Sanctions. Failure to comply with all requirements of this rule may result in the
imposition of sanctions that could include the striking of a party’s pleading or the denial of the
right to introduce evidence or witness testimony.

(r) Settlements. Pursuant to Local Rule 9019-1, parties shall immediately notify the
Court of any settlement and promptly file and serve a motion to approve the compromise in the
debtor’s main case, not in the adversary proceeding. If the complaint asserts claims under 11
U.S.C. § 523 only, a motion to approve the compromise is not necessary. However, if desired,
the parties may seek approval of the settlement by filing a motion in the adversary proceeding.

 

Notes of Advisory Committee
2019 Amendment

The amendment to section (k)(4) specifies the types of motions that are required to filed
using the Court’s negative notice procedures. Amended section (m)(3) provides that written
objection to the admission of an exhibit into evidence on the grounds that the exhibit (a) lacks
authentication or (b) does not qualify as an exception to the hearsay rule as a record of a
regularly conducted activity under Fed. R. Evid. 803(6) must be filed before the close of business
on the second day before trial or the objection will be deemed waived. Revised section (k)(4)
specifies the types of motions that are required to be filed using negative notice procedures. This
amendment is effective July 1, 2019.

2017 Amendment

This rule is revised to require that pleadings requesting injunctive relief so state in the
title of the pleading. And, consistent with Fed. R. Civ. P. 5, the rule states that discovery papers
must not be filed with the Court. Section (k)(6) is revised to more clearly explain that the
Bankruptcy Court lacks jurisdiction to enter a final order or judgment in cases that are non-core
or that are statutorily core but involve state law claims, as explained by the Supreme Court in
Stern v. Marshall, 564 U.S. 462, 131 S. Ct. 2594, 180 L. Ed. 2d 475 (2011), Other amendments
are stylistic. This amended rule is effective July 1, 2017.
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2016

This new rule incorporates the provisions of archived Administrative Order FLMB-2014-
10 “Administrative Order Prescribing Procedures for Adversary Proceedings.” In addition,
section (f)(4) regarding pretrial disclosures is now consistent with Fed, R. Civ. P. 26(f). The rule
also clarifies the requirement that motions in adversary proceedings be filed and served using the
negative notice procedures of Local Rule 2002-4. This new rule is effective July 1, 2016.

 
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CERTIFICATE OF SERVICE

1, Alejandro J. Mendez, Esa. , certify that I am, and at all times during the service of process was,
(name)

not fess than 18 years of age and not a party to the matter concerning which service of process was made.
I further certify that the service of this summons and a copy of the complaint and a copy of Local Rule 7001-1
was made 5/4/24 by:

(date}

Mail Service: Regular, first class United States mail, postage fully pre-paid, addressed to:

Healthcare Revenue Recovery Group, LLC, d/b/a RRRG
cio Registered Agent - Corporation Service Company
1201 Hays Street

Tallahassee, FL 32301

[_] Personal Service: By leaving the process with defendant or with an officer or agent of defendant at:

["] Residence Service: By leaving the process with the following adult at:

‘a Certified Mail Service on an Insured Depository Institution: By sending the process by certified mail
addressed to the following officer of the defendant at:

[|] Publication: The defendant was served as follows: [Describe briefly]

[_] State Law: The defendant was served pursuant to the laws ofthe Stateof

 

as follows: [Describe briefly] (name of state)

Under penalty of perjury, I declare that the foregoing is true and correct. oa

 

5/4/21 & i ’ a fo é i

Date 1 Signature 5

 

Print Name
Alejandro J. Mendez, Esq.

 

Business Address
612 W. Bay Street

 

City Tampa State FL Zip 33606

 

 

 

 
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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

In re:

CARRIN DENISE JAMES, BANKRUPTCY CASE
NO.: 8:21-bk-00038-MGW
Debtor.

CHRISTINE L. HERENDEEN,
as Chapter 7 Trustee of the estate of CHAPTER 7
CARRIN DENISE JAMES,

Plaintiff,
v. ADVERSARY PROCEEDING
NO.:
HEALTHCARE REVENUE
RECOVERY GROUP, LLC,
d/b/a HRRG,

Defendant.

 

COMPLAINT

Plaintiff, Christine L. Herendeen (“Plaintiff”), the Chapter 7 Trustee of the bankruptcy
estate of Carrin Denise James (“Debtor”), by and through undersigned counsel, hereby sues
Healthcare Revenue Recovery Group, LLC, d/b/a HRRG (“Defendant” or “HRRG”), and states
the following:

PRELIMINARY STATEMENT

1. The Debtor, Carrin Denise James, filed a petition for bankruptcy relief under
Chapter 7 on January 7, 2021.

2. Plaintiff brings this action pursuant to 15 U.S.C. § 1692 et seg., the Fair Debt
Collection Practices Act (“FDCPA”) and Fla. Stat. § 559.55 ef seq., the Florida Consumer

Collection Practices Act (““FCCPA”).

 
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JURISDICTION AND VENUE

3, This Court has jurisdiction pursuant to 28 U.S.C. § 1334, 28 U.S.C. § 157(b)(2)(O),
and the Standing Order of Reference of the United States District Court entered by Hon. Anne C.
Conway on February 22, 2012, 6:12-MC-26-ORL-22, Middle District of Florida, referring all
bankruptcy matters to the United States Bankruptcy Court for the Middle District of Florida.

PARTIES

4, Plaintiff, Christine L. Herendeen, is the Chapter 7 Trustee of the bankruptcy estate
of Carrin Denise James.

5. Debtor, Carrin Denise James, is natural person residing in Polk County, Florida,
where the causes of action arose, and is a “consumer,” as that term is defined by
15 ULS.C. § 1692a(3) and Fla. Stat. § 559.55(8).

6. Defendant, Healthcare Revenue Recovery Group, d/b/a HRRG, is a Florida limited
liability company, is headquartered in Florida, does business in the State of Florida, and is a
“debt collector,” as defined by 15 U.S.C. § 1692a(6) and Fla, Stat. § 559.55(7).

7, Defendant, in the conduct of its business, uses one or more instrumentalities of
interstate commerce or the mails, including without limitation to, electronic communication with
Debtor.

8. The conduct of Defendant was authorized, approved and/or ratified by one or more
officers, directors, or managers of Defendant, and/or they knew in advance that the Defendant was
likely to conduct itself, and allowed them to so act, with conscious disregard of the rights and
safety of others. The agent(s) or employee(s) of Defendant acted within the course and scope of
such agency or employment and acted with the consent, permission, and authorization of

Defendant.
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9, The Defendant’s communications, set forth below, were made to exhaust the
Debtor’s will in an attempt to have the Debtor pay a debt after all necessary information was
conveyed and after all attempts and persuasion and negotiation had failed, as demonstrated by
Debtor either expressly or impliedly communicating to Defendant to stop calling Debtor.

FACTUAL ALLEGATIONS

10. Debtor was alleged to owe Defendant a debt (the “Alleged Debt”).

ll. The Alleged Debt stems from transactions primarily for personal, family, or
household purposes, and is therefore a “debt,” as that term is defined by 15 U.S.C. § 1692a(5) and
Fla. Stat. § 559.55(6).

12. Defendant called Debtor’s cellular telephone from approximately the beginning of
calendar year 2020 until January 2021 in an attempt to collect on the Alleged Debt.

13. Defendant cailed Debtor at least two times per day, six days each week.

14. Defendant called Debtor’s cellular telephone in an attempt to collect on the
Alleged Debt before 8:00 AM and after 9:00 PM.

15. Debtor instructed Defendant to stop calling in an attempt to collect on the
Alleged Debt. Moreover, all attempts at negotiations to obtain payment from Debtor had failed
after Debtor instructed Defendant to stop calling.

16. Debtor instructed Defendant to stop calling in an attempt to collect on the
Alleged Debt as soon as the telephone calls began. Indeed, Debtor instructed Defendant to stop
calling nearly every time Defendant called Debtor in an attempt to collect on the Alleged Debt.

17. Debtor told Defendant that she was unable to pay the Alleged Debt.

 

 
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18. Nevertheless, Defendant continued to call Debtor on her cellular telephone until
approximately January 2021, despite instructing Defendant to stop calling and telling Defendant
that she was unable to pay the Alleged Debt. Moreover, all reasonable efforts at persuasion and
negotiation had failed.

19. Upon reasonable belief, Defendant utilized an automated telephone dialing system
when contacting Debtor. This is evidenced by the fact that Defendant would leave pre-recorded
and/or automated voicemails on Debtor’s cellular telephone

20. As described below, Defendant’s conduct constitutes violations of the FDCPA and
FCCPA because Defendant’s continued calls served only to harass and exhaust the Debtor’s will
into making a payment, and created an appreciable risk of harm.

COUNT I
VIOLATION OF THE FDCPA BY DEFENDANT

21. This is an action against Defendant for violation of 15 U.S.C. §1692 ef seq.

22. Plaintiff re-alleges and reincorporates paragraphs 1 through 20, as if fully set forth
herein.

23. The Alleged Debt is a “debt,” as that term is defined by 15 U.S.C. § 1692a(5).

24. Defendant uses interstate commerce or the mails in its business, the principal
purpose of which is the collection of debts, or Defendant regularly collects or attempts to collect,
directly or indirectly, debts owed or due, or asserted to be owed or due to another, and is therefore
a “debt collector,” as that term is defined by 15 U.S.C. § 1692a(6).

25. Defendant, communicated, directly and/or indirectly, certain information to Debtor

as set forth above, which constitutes “communication,” as defined by 15 U.S.C. § 1692a(2).

 
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26. Through the conduct described above, Defendant violated the following provisions
of the FDCPA:

15 U.S.C. § 1692d

A debt collector may not engage in any conduct the natural consequence of which is to
harass, oppress, or abuse any person in connection with the collection of a debt.

15 U.S.C. § 1692e

A debt collector may not use any false, deceptive, or misleading representation or means
in connection with the collection of any debt.

15 U.S.C. § 1692f

A debt collector may not use unfair or unconscionable means to collect or attempt to collect
any debt.

27. All conditions precedent to this action have occurred, have been satisfied, or have
been waived.

28. Asa result of Defendant’s violations of the FDCPA, Plaintiff is entitled to: (a)
actual damages pursuant to 15 U.S.C. § 1692k(a)(1); (6) statutory damages, pursuant to
15 US.C. § 1692k(a)(2)(A); (c) reasonable attorneys’ fees and costs, pursuant to
15 U.S.C. § 1692k(a)(3); and (d) all other relief Plaintiff is entitled to under the law.

29. All conditions precedent to this action have occurred, have been satisfied, or have
been waived.

WHEREFORE, Plaintiff respectfully requests this Court enter a judgment in Plaintiff's
favor finding that Defendant has violated the FDCPA; awarding Plaintiff actual damages, statutory
damages, attorneys’ fees and costs, together with any and all such further relief as is deemed

necessary or appropriate.

 
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COUNT I
VIOLATION OF § 559.72(7) OF THE FCCPA BY DEFENDANT

30. This is an action against Defendant for violation of Fla. Stat. § 559.72(7).

31. Plaintiff realleges and incorporates paragraphs | through 20, as if fully set forth
herein.

32. Defendant communicated, directly and/or indirectly, certain information to Debtor
as set forth above, which constitutes “communication,” as defined by Fla. Stat. § 559.55(2).

33, Fla. Stat. § 559.72(7) provides, in pertinent part:

In collecting consumer debts, no person shall:

(7) ... willfully engage in other conduct which can reasonably be
expected to abuse or harass the debtor or any member of her or his
family.

34. ‘Through its conduct, described above, Defendant directly and through its agents
violated the above section of the FCCPA.

35, All conditions precedent to this action have occurred, have been satisfied, or have
been waived.

36. Pursuant to Fla. Stat. § 559.77(2), as a result of the above violations of the FCCPA,
Defendant is liable to Plaintiff for actual damages, statutory damages, and reasonable attorney’s
fees and costs.

37, Based upon the willful, intentional, knowing, malicious, repetitive, and continuous
conduct of Defendant, as described herein, Plaintiff is also entitled to an award of punitive damages

in accordance with Fla. Stat. §§ 559.77 and 768.72.

 
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WHEREFORE, Plaintiff respectfully requests this Court enter a judgment against
Defendant, finding that Defendant violated the FCCPA, awarding Plaintiff actual damages,
statutory damages, punitive damages, attorneys’ fees and costs pursuant to Fla. Stat. § 559.77(2),
and awarding Plaintiff any and all such further relief as is deemed necessary and appropriate.

COUNT Il
VIOLATION OF § 559.72(9) OF THE FCCPA BY DEFENDANT

38. This is an action against Defendant for violation of Fla. Stat. § 559.72(9).

39. Plaintiff realleges and incorporates paragraphs | through 20, as if fully set forth
herein.

40. Defendant communicated, directly and/or indirectly, certain information to Debtor
as set forth above, which constitutes “communication,” as defined by Fla. Stat. § 559.55(2).

41. Fla. Stat. § 559.72(9) provides, in pertinent part:

In collecting consumer debts, no person shall:

(9) Claim, attempt, or threaten to enforce a debt when such person
knows that the debt is not legitimate, or assert the existence of some
other legal right when such person knows that the right does not

42, Through its conduct described above, Defendant directly and through its agents
violated the above section of the FCCPA.

43, All conditions precedent to this action have occurred, have been satisfied, or have
been waived.

44. Pursuant to Fla. Stat. § 559.77(2), as a result of the above violations of the FCCPA,

Defendant is liable to Plaintiff for actual damages, statutory damages, and reasonable attorney’s

fees and costs.

 
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45, Based upon the willful, intentional, knowing, malicious, repetitive, and continuous
conduct of Defendant, as described herein, Plaintiff is also entitled to an award of punitive damages
in accordance with Fla. Stat. §§ 559.77 and 768.72.

WHEREFORE, Plaintiff respectfully requests this Court enter a judgment against
Defendant, finding that Defendant violated the FCCPA, awarding Plaintiff actual damages,
statutory damages, punitive damages, attorneys’ fees and costs pursuant to Fla. Stat. § 559.77(2),
and awarding Plaintiff any and all such further relief as is deemed necessary and appropriate.

COUNT IV
VIOLATION OF § 559.72(17) OF THE FCCPA BY DEFENDANT

46, This is an action against Defendant for violation of Fla. Stat. § 559.72(17).

47. Plaintiff realleges and incorporates paragraphs 1 through 20, as if fully set forth
herein.

48. Defendant communicated, directly and/or indirectly, certain information to Debtor
as set forth above, which constitutes “communication,” as defined by Fla. Stat. § 559,55(2).

49, Fla, Stat. § 559.72(17) provides, in pertinent part:

In collecting consumer debts, no person shall:

(17) Communicate with the debtor between the hours of 9 p.m. and
8 a.m. in the debtor’s time zone without the prior consent of the
debtor.

50. Through its conduct, described above, Defendant directly and through its agents
violated the above section of the FCCPA.

51, All conditions precedent to this action have occurred, have been satisfied, or have

been waived,
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52. Pursuant to Fla. Stat. § 559.77(2), as a result of the above violations of the FCCPA,
Defendant is liable to Plaintiff for actual damages, statutory damages, and reasonable attorney’s
fees and costs.

53. Based upon the willful, intentional, knowing, malicious, repetitive, and continuous
conduct of Defendant, as described herein, Plaintiff is also entitled to an award of punitive damages
in accordance with Fla. Stat. §§ 559.77 and 768.72.

WHEREFORE, Plaintiff respectfully requests this Court enter a judgment against
Defendant, finding that Defendant violated the FCCPA, awarding Plaintiff actual damages,
statutory damages, punitive damages, attorneys’ fees and costs pursuant to Fla. Stat. § 559.77(2),
and awarding Plaintiff any and all such further relief as is deemed necessary and appropriate.
Dated: April 29, 2021 Respectfully Submitted,

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